Case 1:20-cv-08042-PKC Document 278

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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LINDA FAIRSTEIN,
Plaintiff,
-against-
NETFLIX, INC., AVA DUVERNAY and
ATTICA LOCKE,
Defendants.
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CASTEL, U.S.D.J.

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ORDER

The trial of this action is rescheduled as first back-up trial to United States v

Ducuara, 23 cr 432 (PKC), for June 10, 2024 at 9:30 a.m..

The letter motion (ECF 275) is terminated.

SO ORDERED.

Dated: New York, New York
January 18, 2024

P. Kevin Castel

United States District Judge

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